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          EXHIBIT
            “A”
8/13/2021         Case 3:21-cv-00526-HTW-LGISeventh
                                               Document        1-1
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                                       Mississippi Electronic Courts
                       Seventh Circuit Court District (Hinds Circuit Court - Jackson)
                         CIVIL DOCKET FOR CASE #: 25CI1:21-cv-00370-TTG


 GREER v. KROGER LIMITED PARTNERSHIP, I et al                                          Date Filed: 06/11/2021
 Assigned to: Senior Circuit Judge Tomie Green                                         Current Days Pending: 63
                                                                                       Total Case Age: 63
 Upcoming Settings:                                                                    Jury Demand: None
                                                                                       Nature of Suit: 187 Premises Liability
 None Found


 Plaintiff
 VALLENA GREER                                                      represented by Harry Merritt Mccumber
                                                                                   Morgan & Morgan PLLC
                                                                                   4450 Old Canton Road, Suite 200
                                                                                   JACKSON, MS 39211
                                                                                   601-718-0934
                                                                                   Fax: 601-949-3399
                                                                                   Email: hmccumber@forthepeople.com
                                                                                   ATTORNEY TO BE NOTICED


 V.
 Defendant
 KROGER LIMITED PARTNERSHIP, I

 Defendant
 JOHN DOES
 1-5


  Date Filed           #    Docket Text
                            COMPLAINT against JOHN DOES, KROGER LIMITED PARTNERSHIP, I, filed by
  06/11/2021          2
                            VALLENA GREER. (Attachments: # 1 Civil Cover Sheet,) (LM) (Entered: 06/11/2021)
                            SUMMONS Issued to KROGER LIMITED PARTNERSHIP, I. (LM) (Entered:
  06/11/2021          3
                            06/11/2021)
                            SUMMONS Returned Executed by VALLENA GREER. KROGER LIMITED
  07/21/2021          4     PARTNERSHIP, I served on 7/14/2021, answer due 8/13/2021. Service type: Personal
                            (Mccumber, Harry) (Entered: 07/21/2021)




https://seventh.circuit.mec.ms.gov/cgi-bin/DktRpt.pl?128040638837875-L_933_5-1,164746421261761-L_333_0-1                        1/2
8/13/2021         Case 3:21-cv-00526-HTW-LGISeventh
                                               Document        1-1
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https://seventh.circuit.mec.ms.gov/cgi-bin/DktRpt.pl?128040638837875-L_933_5-1,164746421261761-L_333_0-1   2/2
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